
Upon consideration of the petition filed on the 22nd of January 2019 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 14th of August 2019."
The following order has been entered on the motion filed on the 5th of April 2019 by Defendant to Amend Petition for Discretionary Review:
"Motion Allowed by order of the Court in conference, this the 14th of August 2019."
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
Ervin, J. and Davis, J. recused
